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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

GO GLOBAL RETAIL LLC,
Case No. 1:23-cv-07987-AS
Plaintiff,
CIVIL ACTION
Vv.
CHART IN SUPPORT OF
DREAM ON ME, INDUSTRIES, INC., and MOTION TO DISMISS

DREAM ON ME, Inc.,

Defendants.

Pursuant to the Court’s Individual Practices Rule 8(G)(i), Defendants, Dream On Me,
Industries, Inc. and Dream on Me, Inc. (collectively “DOM”), respectfully submit the chart below
in support of DOM’s Motion to Dismiss the Amended Complaint filed by Plaintiff, Go Global

Retail, Inc. (“Plaintiff”):

Cause of Action Element(s) Not Plausibly Plead
Count I — Breach of Contract The Amended Complaint fails to plead how DOM’s
alleged misconduct caused any damages to Plaintiff.
Count II- Unjust Enrichment e The Amended Complaint fails to plead how DOM

was enriched at Plaintiff’s expense.

e Equity does not prevent DOM from retaining
anything from Plaintiff because Plaintiff does not
allege what specific information DOM has used or is
continuing to use that was improperly obtained from
Plaintiff to cause Plaintiff any damages.

Count IV — Constructive Trust This claim fails because the Amended Complaint
does not sufficiently allege unjust enrichment (see
Count IID)

Count V — Violation of DTSA The Amended Complaint fails to plead how DOM’s
alleged violation of the DTSA caused any damages to
Plaintiff.

Count VI —Misappropriation The Amended Complaint fails to plead how DOM’s
alleged misappropriation caused any damages to
Plaintiff.

